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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                             CRIMINAL MINUTES – GENERAL

providing defendant with his prescription medication. The government shall file a response no
later than October 20, 2020.

         IT IS SO ORDERED.
                                                                       00         :   00
                                            Initials of Deputy Clerk        CMJ




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